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 8
 9                               UNITED STATES DISTRICT COURT
                                      DISTRICT OF NEVADA
10
      DEUTSCHE BANK NATIONAL TRUST                      Case No.: 2:20-cv-02146-RFB-VCF
11
      COMPANY, AS TRUSTEE FOR MORGAN
12    STANLEY ABS CAPITAL I INC. TRUST
      2007-NC1 MORTGAGE PASS-THROUGH                    STIPULATION AND ORDER TO
13    CERTIFICATES, SERIES 2007-NC1,                    DISMISS CASE WITH PREJUDICE
14                         Plaintiff,
15           vs.

16    FIDELITY NATIONAL TITLE GROUP,
      INC.; FIDELITY NATIONAL TITLE
17    INSURANCE COMPANY; FIDELITY
18    NATIONAL TITLE AGENCY OF
      NEVADA, INC.; DOE INDIVIDUALS I
19    through X; and ROE CORPORATIONS XI
      through XX, inclusive,
20
                           Defendants.
21
22
23          Plaintiff, Deutsche Bank National Trust Company, as Trustee for Morgan Stanley ABS

24   Capital I Inc. Trust 2007-NC1 Mortgage Pass-Through Certificates, Series 2007-NC1 and

25   Defendants, Fidelity National Title Group, Inc.; Fidelity National Title Insurance Company and

26   Fidelity National Title Agency of Nevada, Inc. (collectively referred to as the “Parties”), by and

27   through their counsel of record, hereby stipulate and agree as follows:

28   ///




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     Case 2:20-cv-02146-RFB-VCF Document 64 Filed 09/14/23 Page 2 of 2




 1          IT IS HEREBY STIPULATED AND AGREED that the Complaint is dismissed
 2   WITH PREJUDICE, with each party to bear its own fees and costs.
 3
      DATED this 12th day of September, 2023.         DATED this 12th day of September, 2023.
 4
      WRIGHT, FINLAY & ZAK, LLP                       SINCLAIR BRAUN KARGHER LLP
 5
 6    /s/ Lindsay D. Dragon                           /s/ Kevin S. Sinclair
 7    Lindsay D. Dragon, Esq.                         Kevin S. Sinclair, Esq.
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 9
      Attorney for Plaintiff, Deutsche Bank           Attorneys for Defendants, Fidelity National
10    National Trust Company, as Trustee for          Title Group, Inc.; Fidelity National Title
      Morgan Stanley ABS Capital I Inc. Trust         Insurance Company and Fidelity National
11    2007-NC1 Mortgage Pass-Through                  Title Agency of Nevada, Inc.
      Certificates, Series 2007-NC1
12
13
14    IT IS SO ORDERED.

15    DATED: this 14th day of September, 2023.
16
                                                 _________________________________
17                                                RICHARD F. BOULWARE, II
18                                                UNITED STATES DISTRICT JUDGE

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